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% A 0 245B    (Rev. 06/05) Judgment in a Criminal Case
                                                                   #546
              Sheet 1




                       SOUTHERN                                 District of                                        ILLINOIS

         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              v.
                  STACIE D. PAULSON                                     Case Number:              4:07CR40029-003-JPG

                                                                        USM Number: 07337-025
                                                                         James A. Gomric
                                                                        Defendant's Attorney
THE DEFENDANT:
@fpleaded guilty to count(s)         1 of the Indictment                                                          F l t - ~ ~
   pleaded nolo contendere to count(s)                                                                          APR 7
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                              Offense Ended            Count


                                   Distribute Marihuana



       The defendant is sentenced as provided in pages 2 through             10           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
C] Count(s)                                                is       are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 da s of any change of name, residence,
or mailing address unti1,all fmes, restitut~on,.costs,and special assessmeqts lmposed by this judgment are fuhy paid. If ordered to pay reshtutlon,
the defendant must notify the court and United States attorney of material changes in economc circumstances.

                                                                         411712008
                                                                        Date of I m p o s i t i ~of Judgment            /




                                                                         J. Phil Gilbert                                    District Judae
                                                                        Name of Judge                                   Title of Judge
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A 0 245B        (Rev. 06/05) Judgment in Criminal Case                #547
                Sheet 2 - Imprisonment
                                                                                                            Judgment - Page   2   of    10
DEFENDANT: STACIE D. PAULSON
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                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  117 months on Count 1 of the Indictment.(The Court sentences the defendant to 120 months, but gives her 3 months credit
  for time served on a related state case.


      @fThe court makes the following recommendations to the Bureau of Prisons:
  Intensive Drug Treatment Program



      @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
           Cl     at                                     0 a.m.          p.m.     on
                  as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on
                  as notified by the United States Marshal.
                  as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                              to

 at                                                        , with a certified copy of this judgment.


                                                                                                          UNITED STATES MARSHAL


                                                                                BY
                                                                                                       DEPUTY UNITED STATES MARSHAL
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A 0 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                           Judgment-Page
                                                                                                                               3                10
DEFENDANT: STACIE D. PAULSON
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of

 5 years on Count 1 of the Indictment.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suimit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as detemned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 @fThe defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @f The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of t h ~judgment.
                                        s
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, d.stribute, or a+nister    any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the protation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed tn plaln view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify ,third parties of risks that may be occasioned by the defendant's criminal
           record or persona? history or character~sticsand shall pemut the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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            Case 4:07-cr-40029-JPG
           (Rev. 06/05) Judgment in a Criminal Case
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           Sheet 3C - Suoervised Release                        #549
                                                                                           Judgment-Page    4     of      10
DEFENDANT: STACIE D. PAULSON
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of her net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Due to the defendant's substance abuse history, she shall participate as directed and approved by the probation officer
 in treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
 detection measures and which may require residence and/or participation in a residential treatment facility. Any
 participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
 associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
 States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
 in a one year period.

 X The defendant shall submit her person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall participate in anger management classes as directed by probation.

 X The Court recommends that the last six months of the defendant sentence be served in a half-way house.
A 0 245B
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           (Rev. 06/05) Judgment in a Criminal Case
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           Sheet 5 - Criminal Monetary Penalties                #550
                                                                                                       Judgment - Page       5      of     I0
DEFENDANT: STACIE D. PAULSON
CASE NUMBER: 4:07CR40029-003-JPG
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                                                              Restitution
TOTALS             $ 100.00                                                                                  $ 0.00


     The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned .ayment, unless specified otherwise .n
     the priority order or percentage payment column%elow However, pursuant to 18 Js.8. 5 3664{), all nonfederal victlrns must be pald
     before the United States is paid.

Name of Pavee                                                             LLQhlbW*             Restitution Ordered Prioritv or Percentage




TOTALS                                $                       0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      g( the interest requirement is waived for the          @ fine           restitution.
           the interest requirement for the           fine           restitution is modified as follows:



 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
A 0 245B      Case
           (Rev.        4:07-cr-40029-JPG
                 06/05) Judgment in a Criminal Case    Document 221 Filed 04/24/08                    Page 6 of 6         Page ID
           Sheet 6 - Schedule of Payments                        #551
                                                                                                        Judgment - Page      6     of          10
DEFENDANT: STAClE D. PAULSON
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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A          Lump sum payment of $                             due immediately, balance due

                 not later than                                 , or
           17    in accordance              C,         D,         E, or    @fF below; or

B          Payment to begin immediately (may be combined with              C,          D, or        F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 P    @f Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of her net monthly income, whichever is greater, toward her fine.




Unless the court has express1 ordered otherwise, if t h s judgment imposes imprisonment, ent of criminal monetary penalties is due durin
imprisonment. All criminarmoneta penalties, except those payments made througRatE~ederalBureau of Prisons' Inmate
Responsibility Program, are made to x e clerk of the court.
                                                                                                                                            ina an cia
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                       1
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
